                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




               REPLY IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL
         THE NUMBER OF SUBSCRIBERS COX TERMINATED FOR VIOLATING ITS
                  ACCEPTABLE USE POLICY AND PAYMENT TERMS

            Plaintiffs move to compel the number of subscribers Cox terminated, broken down over a

     reasonable period of time by category of termination. Cox concedes that it has the information. It

     does not assert that providing it creates an undue burden. Cox hangs its hat on arguing the

     information is irrelevant, but it is wrong. The information is highly probative and Cox should be

     ordered to provide it.

            “Evidence is relevant if: (a) it has any tendency to make a fact more or less probable than

     it would be without the evidence; and (b) the fact is of consequence in determining the

     action.” Fed. R. Evid. 401. The information sought is squarely relevant to liability. One “infringes

     vicariously by profiting from direct infringement while declining to exercise a right to stop or limit

     it.” Metro–Goldwyn–Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930 (2005) (internal

     citations omitted). The Usenet and MP3Board cases discussed in Plaintiffs’ Motion are examples

     where courts have expressly found that a defendant’s actions to restrict users from violations of

     terms or policies other than copyright infringement (e.g., regarding spam, pornography, or other
prohibited acts) are relevant to the defendant’s right and ability to control or supervise its users’

infringing activities.1

         Despite the obvious relevance, Cox tries to distinguish the Usenet and MP3Board cases

based on meritless semantics. (Opp. at 2-7.) It argues that the Fourth Circuit standard for vicarious

liability requires the right and ability to “supervise,” while the Southern District of New York

standard applied in Usenet and MP3Board considered the right and ability to “control.” Both

Usenet and MP3Board discuss the right to supervise. Relying on hallmark cases in this area, the

MP3Board decision articulates the standard as follows: “[a] company may be found vicariously

liable for copyright infringement if it has the right and ability to supervise infringing activity and

also has a direct financial interest in that activity.” Arista Records, Inc. v. MP3Board, Inc., No.

00 CIV. 4660 (SHS), 2002 WL 1997918, at *10 (S.D.N.Y. Aug. 29, 2002). The Usenet decision,

which post-dates Grokster, discusses “right and ability to control” and “right and ability to

supervise” interchangeably. Arista Records, Inc. v. Usenet, 633 F. Supp. 2d 124, 156-157

(S.D.N.Y. 2009) (explaining that the ability to block infringers’ access to a particular environment

for any reason whatsoever is evidence of the “right and ability to supervise” and noting it is

exercised by restricting a user from uploading or downloading content).

         Cox also erroneously conflates relevance with sufficiency, contending “more is required”

to prove liability than just the information sought. Opp. at 4, 5. Cox has no idea what weight a

jury may attribute to this information and attorney speculation is not the standard for relevance.

“[I]t is universally recognized that evidence, to be relevant to an inquiry, need not conclusively

prove the ultimate fact in issue, but only have “any tendency to make the existence of any fact that


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 Citing the Usenet case, this Court explained that “[u]nlike contributory infringement, vicarious liability is not based
on the knowledge or intent of the defendant. It is entirely dependent on the existence of a financial benefit and the
defendant’s relationship to the infringement.” BMG Rights Mgmt. (US) LLC v. Cox Commc’ns. Inc., 149 F.Supp 3d
634, 674 (E.D.V.A. 2015).


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is of consequence to the determination of the action more probable or less probable than it would

be without the evidence.” New Jersey v. T.L.O., 469 U.S. 325, 345 (1985) (quoting FRE 401); see

also United States v. Madera, 574 F.2d 1320, 1322 (5th Cir.1978) (“Evidence need not be

conclusive of a material issue in order to be admitted.”). How Cox acts with respect to uses of its

network that it finds objectionable directly bears on whether Cox could take similar action with

respect to limiting infringement, though declined to do so. The same is true for non-payment

violations.

       Cox asserts that it can withhold the information sought on the basis that it is “unreasonably

cumulative and duplicative of discovery they [plaintiffs] have already obtained.” Opp. at 6–7.

This is perplexing. Cox has not produced any of the information sought by this motion. Nor does

Cox explain why this Court’s summary judgment decision in the BMG v. Cox case, which mentions

Cox’s termination policy, or a statement from Plaintiffs in a brief in this action, purportedly render

the discovery duplicative. Opp. at 6–7. Neither impacts Cox’s obligation to produce the relevant

information requested, nor substitutes for actual evidence that a jury can consider.

       The requested information is relevant for additional purposes as well, including willfulness.

Statutory damages are “not fixed or readily calculable from a fixed formula.” Feltner v. Columbia

Pictures Television, Inc., 523 U.S. 340, 352–53 (1998) (citation omitted). Willfulness in the

context of statutory damages for copyright infringement includes a defendant acting in reckless

disregard for a plaintiff’s copyrights. See BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc.,

881 F.3d 293, 312–13 (4th Cir. 2018). When a jury considers the question of willfulness and the




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amount of an award, it is entitled to consider the degree to which Cox acted to protect Cox’s

interests but declined to take similar action to stop infringement.2

        Finally, Cox argues that, even if the information is relevant for the period of the specific

claims in this case, it should not also have to provide the information with respect to the three-year

period that precedes that claims period. Cox is wrong. Cox’s exercise of control during the years

just prior to the claim period certainly speaks to its right and ability to do the same during the claim

period. A jury is also entitled to this context as it assesses damages, willfulness, and the need for

deterrence. Cox no doubt has a history of acting to restrict subscriber activity Cox deems against

its interests (including failure to pay for service or other policy violations), while declining to act

to limit infringing activity, including by specific infringers repeatedly brought to Cox’s attention.

The information exists in Cox’s possession, it is relevant, and it can be produced without any

burden. Cox should be ordered to do so.



Dated January 24, 2019                                           Respectfully Submitted,

                                                                 /s/ Scott A. Zebrak
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  Cox twice states that willfulness turns on a defendant’s knowledge of copyright infringement (Opp. at 2, 8). As Cox
acknowledges elsewhere, however, the test for willfulness is not just knowledge. Willfulness can be shown through
reckless disregard or willful blindness. Cox Commc’ns, 881 F.3d at 312–13.


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